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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL         :
DIVERSITY,                    :
                              :
      Plaintiff,              :
                              :
      v.                      :                       Civil Action No. 19-1318 (TNM)
                              :
U.S. ENVIRONMENTAL PROTECTION :
AGENCY, et al.,               :
                              :
      Defendants.             :

                               STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties to this action

hereby stipulate to dismiss this action with prejudice pursuant to the parties’ settlement

agreement executed in connection with this matter, over which the Court retains jurisdiction for

the limited purpose recognized in Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 382 (1994).

Dated: June 14, 2021                          Respectfully submitted,

 s/ Hannah Connor                                  CHANNING D. PHILLIPS
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IT IS SO ORDERED                              _________________________________________
Date: _______________                         The Hon. Trevor N. McFadden
